Case 15-12075-BLS Doc 271-2 Filed 11/25/15 Page 1 of 4

EXHIBIT B

 

Case 15-12075-BLS Doc 271-2 Filed 11/25/15 Page 2 of 4

TAYLOR-WHARTON lNTERNALTlONAL, LLC, ET. AL.

FOR PROFESS|ONAL SERVICES RENDERED FROM 10/01/2015 THROUGH AND lNCLUDlNG 10I31/2015 BY DATE ORDER:

 

 

Professional Date Description of Services Rate Hours Fees

Georgiana Nertea 10/16/2015 lnitial meeting with Committee counsel to review case information and $ 390.00 2.9 $ 1,131_00
develop strategy and workp|an.

Wayne Weitz 10/16/2015 lnitial meeting with Committee counsel to review case information and 600.00 2.9 1,740_00
develop strategy and workp|an.

Georgiana Nertea 10/17/2015 Conference call W. WeitzI Debtors' CRO and investment banker re: 390.00 1.0 390.00
projections and operations

Georgiana Nertea 10/17/2015 Follow-up conference call with W. Weitz re: call with CRO and |B. 390.00 0.5 195,00

Georgiana Nertea 10/17/2015 Conferenoe call W, Weitz, W. Pederson and Lowenstein re: case 390.00 lJ.B 312.00
overview and information received.

Vlh||iam J. Pederson 10/17/2015 Conferenoe call G. Nertea, W. Weitz and Lowenstein re: case overview 490.00 0_8 392.00
and information received.

Wayne Weitz 10/17/2015 Prepare for conference call with CRO and |B. 600.00 0.8 480.[]0

Wayne Weitz 10/17/2015 Conferenoe call G. Nertea, Debtors' CRO and investment banker re: 600.00 1.0 600.00
projections and operations.

Wayne Weitz 10/17/2015 Fol|ow-up conference call with G_ Nertea re: call with CRO and |B, 600.00 0,5 300.00

Wayne Weitz 10/17/2015 Conferenoe call G. Nertea, W. Pederson and Lowenstein re: case 600.00 O.B 480.00
overview and information received.

Wayne Weitz 10/17/2015 Email correspondence to Debtor‘s advisors and UCC counsel re: and 600.00 1.9 1,140.00
review of information provided by Debtor.

Wayne Weitz 10/17/2015 Email correspondence counsel re: information request. 600.00 0.4 240.00

Wayne Weitz 10/17/2015 Update critical dates on calendar. 600.0[] 0.6 360.00

Georgiana Nertea 10/18/2015 Conferenoe call W. Weitz, Debtors' CRO and FA re: operations and 390.00 1.0 390.00
financial perforrnance.

Georgiana Nertea 10/18/2015 Call with G. Nertea, W. Weitz, Lowenstein re: case strategyl financial 390,00 O.G 234.00
projections and upcoming hearing.

V\hlliam J. Pederson 10/18/2015 Review of pleadings/filings to prepare for upcoming Committee call re: 490.00 1.0 490_00
first Day declarationl DlP Financing Motion.

V\hlliam J. Pederson 10/18/2015 Call with G. Nertea, W. Pederson, Lowenstein re: case strategy, 490.00 0.6 294_00
financial projections and upcoming hearing.

Wayne Weitz 10/18/2015 Review information received from Debtors; email correspondence 600.00 1.4 840.00
Lowenstein re: same.

Wayne Weitz 10/18/2015 Email correspondence counsel re: open items not yet received. 600.00 0.3 180.00

Wayne Weitz 10/18/2015 Review Gnancial projection mode|. 600.00 1.1 660.00

Wayne Weitz 10/18/2015 Conference call G. Nertea, Debtors' CRO and FA re: operations and 600.00 1 .0 600.00
Hnancia| performance.

Wayne Weitz 10/18/2015 Conf call N. Brown (\Mnd Point) re: equity ownership history and 600.00 0,4 240.00
objectives.

Wayne Weitz 10/18/2015 Call with G. Nertea, W. Pedersonl Lowenstein re: case strategy, 600.00 0.6 360.00
financial projections and upcoming hearing.

VVi||iam J. Pederson 10/19/2015 Review of LOls and other interest letters. 490.00 0.9 441.00

V\hlliam J. Pederson 10/19/2015 Review of documents and pleadings to prepare for upcoming hearing. 490,00 3.1 1,519.00

Vlhlliam J. Pederson 10/19/2015 Creditors' Committee call re: upcoming hearing, marketing of Debtors 490.00 0.6 294_00
assets, insurance issues.

Wayne Weitz 10/19/2015 Review draft objection to bid procedures; comments to counse|. 600.00 2.2 1,320.00

Wayne Weitz 10/19/2015 Prepare for Committee conference call. 600,00 0.6 360.00

Wayne Weitz 10/19/2015 OCUC conference call. 600.00 0.6 360.00

Vlhlliam J. Pederson 10/20/2015 Travel time to/from Vlhlmington to attend DlP financing hearing, 245.00 1.1 269.50

Georgiana Nertea 10/20/2015 Call with W. Weitz re: bid procedures hearing. 390.00 0.3 117.00

Georgiana Nertea 10/20/2015 Prep for and call with W. Pederson and W. Weitz re: information 390.00 0.5 195.00
request.

Georgiana Nertea 10/20/2015 Prep for and call with W. Pederson re: Debtors' documents located in 390.00 0.5 195.00
the data room and documents to request |ist.

Georgiana Nertea 10/20/2015 Prep for and telephonic appearance-Bid procedures hearing. 390.00 0.6 234_00

Georgiana Nertea 10/20/2015 Review of Debtors' data room for projections on divisional/consolidated 390.00 1.6 624,00
basis.

Vlhlliam J. Pederson 10/20/2015 Attend meeting with Committee counsel following hearing. 490.00 1.1 539.00

V\Il|liam J. Pederson 10/20/2015 Prep for and call with G. Nertea re: Debtors' documents located in the 490.00 0.5 245.00
data room and documents to request list.

V\h|liam J. Pederson 10/20/2015 Call with Committee counsel re: case strategy and upcoming objection 490.00 0.3 147.00
deadline.

V\hlliam .l. Pederson 10/20/2015 Attend DlP financing and bid procedures hearing in V\hlmington, DE. 490.00 1.0 490.00

V\h||iam J. Pederson 10/20/2015 Review of documents in data room including financials statements and 490.00 1.6 784.00
trial balancesl develop documents request listing for Debtor/Advisor.

Wayne Weitz 10/20/2015 Call with G. Nertea re: bid procedures hearing; email correspondence 600.00 0.3 180_00
W. Pederson, re: same.

Wayne Weitz 10/20/2015 Call with G. Nertea re: bid procedures hearing. 600.00 0.3 180.00

Georgiana Nertea 10/21/2015 Review data room re: intercompany transactions and email W. 390.00 0.7

Pederson and W. Weitz

Page 1 of 3

273.00

 

 

Case 15-12075-BLS Doc 271-2 Filed 11/25/15 Page 3 of 4

TAYLOR-WHARTON |NTERNALT|ONAL, LLC, ET. AL.

FOR PROFESS|ONALr SERV|CES RENDERED FROM 10/01/2015 THROUGH AND lNCLUDlNG 10I31I2015 BY DATE ORDER:

 

 

Professiona| Date Description of Services Rate Hours Fees

Georgiana Nertea 10/21/2015 Review Court docket and update calendar of events in case, meeting 390.00 0.5 195.00
requests to W. Pederson and W.Weitz

Georgiana Nertea 10/21/2015 Conferenoe call with W, Pederson, W. Weitz and Lowenstein re: DlP 390.00 0.5 195.00
terms and OCUC objection.

Georgiana Nertea 10/21/2015 OCUC conference call. 390.00 0.6 234,00

Vlh||iam J. Pederson 10/21/2015 Conferenoe call with W. Weitz. G. Nertea and Lowenstein re: DlP terms 490.00 0.4 196.00
and OCUC objection.

Wi|liam J. Pederson 10/21/2015 Review of DlP inancing motion and related documents 490.00 1.3 637.00

Wi|liam J. Pederson 10/21/2015 OCUC conference call. 490.00 0.7 343.00

Wayne Weitz 10/21/2015 Calls with C. Weinstein, J. Bakst re: conflict check. 600.00 0.3 180.00

Wayne Weitz 10/21/2015 Conferenoe call with W. Pederson, G. Nertea and Lowenstein re: DlP 600.00 0.4 240_00
terms and OCUC objection.

Wayne Weitz 10/21/2015 Prepare for call with counsel re: D|P and D|P objection prep. 600.00 0.4 240.00

Wayne Weitz 10/21/2015 OCUC conference call. 600.00 0.6 360.00

Georgiana Nertea 10/22/2015 Review of data room re: personnel org charts and email to counsel and 390_00 0.5 195.00
EA case team.

Wi|liam J. Pederson 10/22/201'5 Review of documents in data room including trial balance report. Email 490.00 2.1 1,029.00

f ' to CRO re: document request.

Wi|liam J. Pederson 10/22/2015 Review of monthly reporting packages from data room. 490.00 1.4 686.00

Georgiana Nertea 10/23/2015 Conf call W.P. Weitz and W. F’ederson re: DlP and business analysis 390.00 1.1 429_00

Georgiana Nertea 10/23/2015 Correspondence with counsel and review of records in the data room 390.00 0.6 234.00
re: APA schedules; tlc with counsel re: same.

Georgiana Nertea 10/23/2015 Prep for and T/C with counse|, W.P. Weitz and W. Pederson re: 390.00 0.6 234.00
information request and open items

Wi|liam J. Pederson 10/23/2015 Review of documents including the asset purchase agreement and 490.00 1.2 588_00
exhibits

V\h||iam J. Pederson 10/23/2015 Review of draft employment application. 490.00 0.2 98_00

\Mlliam J. Pederson 10/23/2015 Call with W.P. Weitz and G. Nertea re: budget analysis and discovery 490.00 0.4 196.00
documents

Wi|liam J. Pederson 10/23/2015 Call with Committee counsel re:503(b)(9) claims, admin accrua|s, 490.00 0.4 196.00
priority claims

Wi|liam J. Pederson 10/23/2015 Fo|lcw-up call with G. Nertea and W. Weitz re: cash available from DlP 490.00 0.5 245.00
prooeeds.

Wayne Weitz 10/23/2015 Prepare Retention Application, 600.00 0.4 240.00

Wayne Weitz 10/23/2015 Review changes and edits to retention application; update draft. 600.00 0.4 240.00

Wayne Weitz 10/23/2015 Conf call G. Nertea and W. Pederson re: D|P and business analysis. 600.00 1.1 660_00

Wayne Weitz 10/23/2015 Email correspondence and T/C counsel, G. Nertea and W. Pederson 600.00 0.9 540.00
re: information request and open items.

V\hlliam J. Pederson 10/24/2015 Review of DlP Motion and Bidding Procedures. 450.00 0.8 392_00

Wayne Weitz 10/24/2015 Review latest budget projection from Debtor to assess solvency; e-mail 600.00 1.1 660.00
correspondence Committee counsel with analysis re: same.

V\h|liam .l. Pederson 10/25/2015 Review of emai|s and filed documents, prepare for upcoming DlP 490.00 0.5 245.00
hearing.

Wayne Weitz 10/25/2015 Review Week 1 variance analysis received from Debtor; email 600.00 0.3 180,00
correspondence EA case team re: same.

V\hl|iam J. Pederson 10/26/2015 OCUC conference call. 490.00 0.8 392.00

Georgiana Nertea 10/26/2015 Conf. call with Stifel (lB) re: updates on data room activity. potential 390.00 0.5 195.00
buyers; values etc.

Georgiana Nertea 10/26/2015 Conferenoe call with Argus (CRO), W. Pederson and W.Weitz. 390.00 1.0 390.00

Georgiana Nertea 10/26/2015 Review KE|P motion; email an|aysis to W. Weitz and W. Pederson. 390.00 0,3 117.00

Georgiana Nertea 10/26/2015 Conferenoe call with OCUC counsel re: updates from the conference 390.00 0.7 273.00
call with Argus (CRO).

Georgiana Nertea 10/26/2015 Review cash flow from CRO through 2016 updated with actuals. 390.00 0.7 273.00

Georgiana Nertea 10/26/2015 OCUC conference call. 390.00 0.8 312.00

V\hlliam J. Pederson 10/26/2015 Review of filed documents and detailed budget, prepare for discussion 490.00 1.8 882.00
with Committee counsel re: TSA, insurance, non-debtor subsidiaries
and related liabilities

Wi|liam J. Pederson 10/26/2015 Review revised budget, prepare for upcoming call with CRO. 490,00 0.2 98.00

Wi|liam J. Pederson 10/26/2015 Call with CRO to review budget and underlying assumptions 490.00 1.0 490.00

Wi|liam J. Pederson 10/26/2015 Call with Committee Counsel re: DlP financing and upcoming 490.00 0,7 343.00
deposition of CRO.

Wayne Weitz 10/26/2015 Conferenoe call with GN, CRO re: updated projections and business 600.00 1.0 600_00
operations

Wayne Weitz 10/26/2015 Conferenoe call G. Nertea and M. Seymour re: projections and 600.00 0.4 240_00
operations.

Wayne Weitz 10/26/2015 Document review to prepare for Doherty deposition. 600.00 1.8 1,080.00

Wayne Weitz 1D/26/2015 Review and summarize budgeted professional fees in 13-week cash 600.00 0.8 480.00

flow at request of counse|; email correspondence counsel re: same.

Page 2 of 3

Case 15-12075-BLS Doc 271-2 Filed 11/25/15 Page 4 of 4

TAYLOR-WHARTON lNTERNALT|ONAL, LLC, ET. AL.

FOR PROFESS|ONAL SERV|CES RENDERED FROM 10/01/2015 THROUGH AND lNCLUDlNG 10/31/2015 BY DATE ORDER:

 

 

Professional Date Description of Services Rate Hours Fees
Wayne Weitz 10/26/2015 Conferenoe call W. Pederson. G. Nertea. Argus re: budget; follow-up 600.00 144 840.00
conference call W. Pederson, G. Nertea re: same.
Wayne Weitz 10/26/2015 Conference call Lowenstein team to follow up on conference call with 600.00 0.7 420.00
CRO.
Wayne Weitz 10/26/2015 OCUC conference call. 600.00 118 480.00
Wayne Weitz 10/27/2015 Round trip travel V\A|mington for T. Doherty deposition. 300.00 1.5 450.00
Georgiana Nertea 10/27/2015 Compare original personnel org charts downloaded from data room to 390,00 1.3 507_00
updated personnel org charts and send conclusions to W.P. Weitz and
W. Pederson.
Georgiana Nertea 10/27/2015 Review Debtors' documents downloaded from data room. 390.00 0.3 117.00
Georgiana Nertea 10/27/2015 Correspondence with W.P. Weitz and W. Pederson re: Court Ca|| dial- 390.00 0.2 78.00
in DlP hearing the following day.
Georgiana Nertea 10/27/2015 Review Rep|y of Antares Cap LP to the Obj of the OCUC to D|P. 390.00 1.3 507.00
Georgiana Nertea 10/27/2015 OCUC conference call following deposition. 390_00 0.9 351.00
Georgiana Nertea 10/27/2015 Follow-up and email correspondence with Argus re: line items details 390.00 0.3 117.00
and GL dump in Excel.
Wi|liam J. Pederson 10127/2015 Review of DlP documents re: break-up fees and expense 490.00 0.3 147.00
l ' ` reimbursement cap.
Wayne Weitz 10/27/2015 Document review in preparation for T. Doherty deposition. 600.00 1.8 1,080,00
Wayne Weitz 10/27/2015 Meeting Lowenstein, Rosner to prepare for Doherty Deposition. 600.00 1.5 900_00
Wayne Weitz 10/27/2015 Attend T. Doherty deposition. 600.00 4.0 2,400.00
Wayne Weitz 10/27/2015 Meeting with W. Jung, B. Beuch|er follow-up to Doherty deposition. 600.00 1.7 1,020_00
Wayne Weitz 10/27/2015 OCUC conference call following deposition. 600.00 0.9 540.00
Wayne Weitz 10/28/2015 Round trip travel to V\hlmington for DlP hearing. 300.00 1.5 450.00
Georgiana Nertea 10/28/2015 Attend telephonically the D|P hearing with Judge Shannon. 390.00 0.9 351.(]0
Georgiana Nertea 10/28/2015 Conf call with W. Pederson to follow up on OCUC status call 390.00 0.5 195.00
Georgiana Nertea 10/28/2015 OCUC conference call before hearing. 390.00 0.3 117.00
Georgiana Nertea 10/28/2015 OCUC update conference call following hearing. 390.00 0.5 195.00
V\h|liam J. Pederson 10/28/2015 Attend telephonically the DlP hearing with Judge Shannon. 490.00 1.1 539.00
V\h||iam J. Pederson 10/28/2015 Conf call with G. Nertea to follow up on OCUC status call discussion. 490.00 0.5 245.00
Wi|liam J. Pederson 10/28/2015 Attend Committee call prior to DlP hearing re: negotiation update. 490.00 0.3 147.00
Wi|liam J. Pederson 10/28/2015 Post-hearing Committee call re: negotiations with Debtorl revised DlP 490.00 0.5 245_00
budget
Wayne Weitz 10/28/2015 Meeting W. Jungl M. Seymour to prepare for DlP hearing, 600.00 0.5 300_00
Wayne Weitz 10/28/2015 Attend D|P hearing, including negotiation meetings during court breaks. 600.00 4.3 2,580.00
Wayne Weitz 10/28/2015 OCUC conference call prior to DlP hearing, 600.00 0.3 180.00
Wayne Weitz 10/28/2015 OCUC update conference call following hearing, 600.00 0.5 300.00
Georgiana Nertea 10/29/2015 Review updated budget from Argus and compare to previous version, 390.00 0.5 195.00
V\hlliam J. Pederson 10/29/2015 Review of revised projections and D|P order/revised D|P Financing. 490.00 0.4 195.00
Georgiana Nertea 10/30/2015 Review of deposition transcript of Debtors' CRO. 390.00 0.5 195.00
Georgiana Nertea 10/30/2015 Correspondence with Argus re: TSA line item breakout and access to 390.00 0.5 195.00
Argus share hle re: GL.
Georgiana Nertea 10/30/2015 Review Court docket and update case calendar re: sale hearing and 390.00 047 273.00
~ objections and create meeting invites for W. Weitz and W. Pederson.
Georgiana Nertea 10/30/2015 Review Court docket re: final utilities and CV hearings and send 390.00 0.5 195.00
meeting invites to W. Pederson and W. Weitz.
Vlh|liam J. Pederson 10/30/2015 Review of documents re: cash flow forecast. 490.00 0.4 196.00
Wayne Weitz 10/30/2015 Review actual results and updated projection model. 600.00 1.1 660.00
Wayne Weitz 10/30/2015 Revise retention application; email correspondence counsel re: same. 600.00 O,B 480.00
Tota| Hours and Fees 110.0 55,469.50
Plus Expense: Meals 75.55
Plus Expense: Miles 69.00
Plus Expense: Train Fare 51.00
Plus Expense: Telephone Court Appearance Charge 30.00
Plus Expense: Parking 28.00
Grand Total $ 55,723.05

Page 3 of 3

